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       Phone: (213) 536-5187
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  12   Attorney for Defendant Jacob Yoonsup
       Hwang c/o Ship 4u Express
  13
  14
  15                          UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
  16
  17   ORLANDO GARCIA,                                 Case:2:20-CV-08013-PSG-RAO
  18
                    Plaintiff,
  19                                                   JOINT STIPULATION FOR
           v.                                          DISMISSAL PURSUANT TO
  20
                                                       F.R.CIV.P. 41 (a)(1)(A)(ii) ;
  21   SEHAN LOS ANGELES, LLC, a California
       Limited Liability Company; JACOB                ORDER
  22   YOONSUP HWANG; and Does 1-10,
  23
                   Defendants.
  24
  25
  26            Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
  27   between the parties hereto that this action may be dismissed with prejudice
  28   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.


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       Joint Stipulation for Dismissal                 Case: 2:20-CV-08013-PSG-RAO
Case 2:20-cv-08013-PSG-RAO Document 38 Filed 05/20/21 Page 2 of 3 Page ID #:162




   1   This stipulation is made as the matter has been resolved to the satisfaction of
   2   all parties.
   3
   4
   5   Dated: May 19, 2021               CENTER FOR DISABILITY ACCESS
   6
                                         By:   /s/Amanda Seabock
   7                                           Amanda Seabock
   8                                           Attorney for Plaintiff
   9
  10
  11   Dated: May 19, 2021               LAW OFFICES OF MICHAEL S. LEE, P.C.
  12
  13                                     By:   /s/Michael S. Lee
                                               Michael S. Lee
  14                                           Attorney for Defendant
  15
                                               Jacob Yoonsup Hwang

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                                                       IT IS SO ORDERED.
  20                                                            5/20/21
                                                     DATED: _______________
  21
  22                                                 _______________________
  23                                                  U.S. DISTRICT JUDGE

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       Joint Stipulation for Dismissal                Case: 2:20-CV-08013-PSG-RAO
Case 2:20-cv-08013-PSG-RAO Document 38 Filed 05/20/21 Page 3 of 3 Page ID #:163




   1                        SIGNATURE CERTIFICATION
   2
   3   I hereby certify that the content of this document is acceptable to Michael S.
   4   Lee, counsel for Jacob Yoonsup Hwang, and that I have obtained
   5   authorization to affix his electronic signature to this document.
   6
   7
   8   Dated: May 19, 2021               CENTER FOR DISABILITY ACCESS
   9
                                               /s/Amanda Seabock
  10
                                               Amanda Seabock
  11                                           Attorney for Plaintiff
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       Joint Stipulation for Dismissal                Case: 2:20-CV-08013-PSG-RAO
